                         In The Matter Of:
                        Caitlin O'Connor v.
             The Lampo Group, LLC a/k/a Ramsey Solutions




                     Video Deposition of Caitlin O'Connor
                               June 22, 2021




                           Original File 2021-06-22 Caitlin OConnor.txt
                          Min-U-Script® with Word Index

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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION




    CAITLIN O'CONNOR,                   )
                                        )
                Plaintiff,              )
                                        ) No. 3:20-CV-00628
    v.                                  ) JUDGE RICHARDSON
                                        )
    THE LAMPO GROUP, LLC a/k/a          ) MAGISTRATE JUDGE
    RAMSEY SOLUTIONS,                   ) FRENSLEY
                                        )
                Defendant.              ) JURY DEMAND

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                           VIDEO DEPOSITION OF

                             CAITLIN O'CONNOR
                         Tuesday, June 22, 2021

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                                                                             2

    APPEARANCES:

    For the Plaintiff:          Ms. Heather Moore Collins
                                Ms. Ashley Shoemaker Walter
                                Collins & Hunter
                                7000 Executive Center Drive
                                Suite 320
                                Brentwood, TN 37027
                                615-724-1996
                                heather@collinshunter.com
                                ashley@collinshunter.com

    For the Defendant:          Ms. Leslie Goff Sanders
                                Mr. Daniel Crowell
                                Webb Sanders, PLLC
                                611 Commerce Street
                                Suite 3102
                                Nashville, TN 37203
                                615-915-3300
                                lsanders@webbsanderslaw.com

                                Mr. Daniel Cortez
                                General Counsel at Ramsey
                                  Solutions
                                1011 Reams Fleming Boulevard
                                Franklin, TN 37064

    Also Present:               Mr. Armando Lopez




    Reported By:
    Jennifer B. Carollo, LCR, RPR, CCR

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 1                The video deposition of Caitlin O'Connor was

 2    taken by counsel for the Defendant at the law office

 3   of Collins & Hunter, 7000 Executive Center Drive, Suite

 4   320, Brentwood, Tennessee, on Tuesday, June 22, 2021,

 5   beginning at 9:10 A.M., for all purposes allowed under

 6   the Federal Rules of Civil Procedure.

 7               It is agreed that Jennifer B. Carollo,

 8   Licensed Court Reporter, Registered Professional

 9   Reporter, Certified Court Reporter, and Notary Public

10   for the State of Tennessee, may swear the witness, take
11   the deposition, and afterwards reduce same to

12   typewritten form, and that the reading and signing of
13   the completed deposition by the witness was not

14   discussed.

15               All formalities as to caption, certificate,

16   transmission, filing, etc., are waived.             All objections
17   except as to the form of the questions are reserved to

18   on or before the hearing.

19   -------------------------------------------------------

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 1                       MS. SANDERS:      14, okay.

 2                       (Marked Exhibit 14.)

 3   BY MS. SANDERS:

 4   Q.           One question about that, Ms. O'Connor.             Do

 5   you recall preparing that mission statement?

 6   A.           Yeah, I -- yeah.

 7   Q.           As you read this mission statement today, do

 8   you think that it was accurate at the time that you

 9   prepared it?

10   A.           Yes.
11   Q.           Okay.    Who asked you to prepare that?

12   A.           HR.
13   Q.           Okay.    And what instructions were you given

14   on preparing a mission statement?

15   A.           I don't think there was any instructions.

16   It was just prepare a mission statement.
17   Q.           Like a personal mission statement?

18   A.           Correct.

19   Q.           Okay.    All right.      Now, in this lawsuit, you

20   have alleged a claim under the Americans with

21   Disabilities Act.       What is the disability you're
22   claiming?

23   A.           My geriatric pregnancy.

24   Q.           Okay.    And did you ever tell anyone at

25   Ramsey that you had a disability?

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 1   A.            When I reported my pregnancy to Armando.

 2   Q.            What did you tell Mr. Lopez?

 3   A.            That I requested -- well, maybe I can pull

 4   up the email.     (Witness reviews document.)

 5                 I said -- so I stated, "I'm not sure what my

 6   next steps are regarding the sharing the news with my

 7   leader, getting FMLA & ADA paperwork incase it's needed

 8   in the future, etc."

 9   Q.            So is that the only email where you mention

10   the ADA?
11   A.            Correct.

12   Q.            Did you have any discussion with anyone at
13   Ramsey about your disability?

14   A.            I was terminated before I had any

15   discussions with anyone outside of HR.

16   Q.            In the conversation with Suzanne Simms on
17   the phone, did you mention your disability?

18   A.            I don't recall the nature of the

19   conversation I had with Suz.

20   Q.            In the meeting with Suzanne Simms and Jen --

21   Jen Sievertsen, did you tell them what your disability
22   was?

23   A.            I don't recall the whole conversation.

24   Q.            And then what about the third meeting

25   with -- which was with Suzanne Simms and Armando Lopez,

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 1   did you tell them what your disability was?

 2   A.           I don't believe I did a lot of talking in

 3   that meeting.

 4   Q.           Did you ever tell anyone at Ramsey that you

 5   had a geriatric pregnancy?

 6   A.           The only people I reported my pregnancy to

 7   was Armando.

 8   Q.           So is the answer no?

 9   A.           No.

10   Q.           Okay.    Who has treated you for the geriatric
11   pregnancy?

12   A.           I had a team of doctors.          I had to switch
13   OBs after I was terminated.

14   Q.           And I realize this question is -- the answer

15   is probably pretty obvious, but do you still have the

16   disability?
17   A.           No.

18   Q.           Okay.    Do you have any resulting disability

19   from the geriatric pregnancy?

20   A.           No.

21   Q.           Ms. O'Connor, in this -- in the discovery of
22   this lawsuit, the parties have exchanged

23   interrogatories and responded to each other's

24   questions, their interrogatories.           In response to our

25   interrogatories, the interrogatory was:             Explain how

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 1                              ERRATA PAGE

 2             I, CAITLIN O'CONNOR, the witness herein,
     have read the transcript of my testimony and the
 3   same is true and correct, to the best of my
     knowledge, with the exception of the following
 4   changes noted below, if any:

 5   Page/Line    Change                          Reason

 6   _________    ____________________________________________

 7   _________    ____________________________________________

 8   _________    ____________________________________________

 9   _________    ____________________________________________

10   _________    ____________________________________________
11   _________    ____________________________________________

12   _________    ____________________________________________
13   _________    ____________________________________________

14   _________    ____________________________________________

15   _________    ____________________________________________

16   _________    ____________________________________________
17   _________    ____________________________________________

18   _________    ____________________________________________

19
                              _____________________________
20                            CAITLIN O'CONNOR

21
               Sworn to and subscribed before me, this
22   the _____ day of ___________, 2021.

23

24                            _______________________________
                              Notary Public
25                            My Commission Expires:

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 1                       REPORTER'S CERTIFICATE

 2                I, Jennifer B. Carollo, Licensed Court

 3   Reporter, Registered Professional Reporter, Certified

 4   Court Reporter, and Notary Public for the State of

 5   Tennessee, hereby certify that I reported the foregoing

 6   proceedings at the time and place set forth in the

 7   caption thereof; that the proceedings were

 8   stenographically reported by me; and that the foregoing

 9   proceedings constitute a true and correct transcript of

10   said proceedings to the best of my ability.
11                I FURTHER CERTIFY that I am not related to

12   any of the parties named herein, nor their counsel, and
13   have no interest, financial or otherwise, in the

14   outcome or events of this action.

15                IN WITNESS WHEREOF, I have hereunto affixed

16   my official signature and seal of office this 24th day
17   of June, 2021.

18

19

20

21
                              __________________________________
22                            JENNIFER B. CAROLLO, LCR, RPR, CCR
                              AND NOTARY PUBLIC FOR THE STATE
23                            OF TENNESSEE

24                            LCR No. 432, Expires 6/30/2022

25                            Notary Commission Expires 6/26/2024

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